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 5 Attorney for Defendant,
   Kaleb Louis
 6
                                 UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                          CASE NO.: 2:17-cr-00180
 9             Plaintiff,
                                                        FIRST STIPULATION TO CONTINUE TIME
10 vs.                                                  FOR SENTENCING
11 KALEB LOUIS
             Defendant.
12

13                   STIPULATION TO CONTINUE TIME FOR SENTENCING
14
            IT IS HEREBY STIPULATED AND AGREED by and between Richard Anthony Lopez,
15
     Assistant United States Attorney, counsel for the United States of America, Maysoun Fletcher,
16
     Esq., counsel for defendant KALEB LOUIS, that the Sentencing Hearing currently set for July 16,
17

18 2018 at 11:00 a.m. be vacated and reset thirty (30) days.

19          This Stipulation is entered into for the following reasons:

20          1.     This is the first request for a continuance.
21          2.     The defendant does not object to the continuance.
22
            3.     The Plea Agreement between the United States and Kaleb Louis allows for a 2 point
23
                   reduction in the total offense level if at least 8 defendants change their plea to guilty
24
                   and are pending sentencing, a 3 point reduction if at least 11 defendants change their
25

26                 plea to guilty, and a 4 point reduction if at least 14 defendants change their plea to

27                 guilty.

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 1         4.     At the time of preparing this Stipulation, at least 6 defendants have changed their

 2                plea to guilty and it is anticipated that another 2 or more will change their plea to
 3
                  guilty in the upcoming 30 days.
 4
           5.     To secure the benefit of the minimum 2 point reduction contemplated in the Plea
 5
                  Agreement, the parties are seeking to continue sentencing 30 days.
 6
           6.     Denial of this request for continuance could result in a miscarriage justice.
 7

 8         7.     For the above-stated reasons, the ends of justice would best be served by a

 9 continuance of the current sentencing hearing (30) days.

10         DATED: July 2, 2018.
11

12   /s/ Richard Anthony Lopez                   /s/ Maysoun Fletcher______
   RICHARD ANTHONY LOPEZ, ESQ.                   MAYSOUN FLETCHER, ESQ.
13 Assistant United States Attorney              Attorney for Defendant, Kaleb Louis
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 5 Attorney for Defendant,
   KALEB LOUIS
 6
                                   UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                             CASE NO.: 2:17-cr-00180
 9             Plaintiff,
10 vs.

11 KALEB LOUIS,
             Defendant.
12

13                                          FINDINGS OF FACT
14
            Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
15 finds:

16          This Stipulation is entered into for the following reasons:
17       1. This is the first request for a continuance.
18
         2. The defendant does not object to the continuance.
19
         3. The Plea Agreement between the United States and Kaleb Louis allows for a 2 point
20
            reduction in the total offense level if at least 8 defendants change their plea to guilty and are
21

22          pending sentencing, a 3 point reduction if at least 11 defendants change their plea to guilty,

23          and a 4 point reduction if at least 14 defendants change their plea to guilty.

24       4. At the time of preparing this Stipulation, at least 6 defendants have changed their plea to
25
            guilty and it is anticipated that another 2 or more will change their plea to guilty in the
26
            upcoming 30 days.
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                                                           3
     Case 2:17-cr-00180-JAD-NJK           Document 382          Filed 07/06/18    Page 4 of 4



 1      5. To secure the benefit of the minimum 2 point reduction contemplated in the Plea

 2          Agreement, the parties are seeking to continue sentencing 30 days.
 3
        6. Denial of this request for continuance could result in a miscarriage justice.
 4
        7. For the above-stated reasons, the ends of justice would best be served by a
 5
     continuance of the current sentencing hearing (30) days.
 6
                                   CONCLUSIONS OF LAW
 7

 8
            Denial of this request for continuance would deny the Defendant herein the opportunity to
 9
     benefit from a contemplated reduction in total offense level.
10
            Additionally, denial of this request for continuance could result in a miscarriage of justice.
11

12                                                 ORDER

13          IT IS HEREBY ORDERED that the Sentencing Hearing currently scheduled for July 16,
14 2018 at 11:00 a.m. is hereby vacated and reset to_______________________________.
                                                     August 27, 2018, at the hour of 9:00 a.m.

15
            IT IS SO ORDERED.
16
           DATEDthis
          DATED
           DATED  this6th
                 this  ______
                       3rdday day
                           dayof   of ____________,
                               ofJuly,
                                  July,2018.
                                        2018.       2018.
17
                                                                          __________________
18                                                                        U.S. DISTRICT JUDGE
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